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                     UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
IN RE: SALVATORE CARBONE             : CIVIL ACTION
                                     :
                  Debtor             : BANKRUPTCY no. 18-13403
                                     : ADVERSARY no. 19-68
____________________________________:

                                CERTIFICATE OF SERVICE

       I, Peter E. Meltzer, hereby certify that on the below date, the foregoing Defendant’s

Motion to Dismiss Plaintiff’s Complaint was served via United States mail, First class, postage

prepaid, on the following:


GARY SEITZ, CHAPTER 7 TRUSTEE                    ROBERT J. BIRCH
Gellert Scali Busenkell & Brown                  Robert J. Birch, Esquire
8 Penn Center                                    325 Sentry Parkway
1628 John F. Kennedy Blvd.                       Blue Bell, PA 19422
Philadelphia, PA 19103




Date: April 18, 2019                                BY:     /s/ Peter E. Meltzer______
                                                           Peter E. Meltzer, Esquire
                                                           Attorneys for Movant
